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                                    STATEMENT OF FACTS

       Your affiant,                     , is a Special Agent assigned to the FBI’s San Francisco
Field Office. In my duties as a special agent, I investigate violations of federal law. Currently, I am
tasked with investigating criminal activity in and around the Capitol grounds on January 6, 2021.
As a Special Agent, I am authorized by law or by a government agency to engage in or supervise
the prevention, detection, investigation, or prosecution of a violation of Federal criminal laws.
        The facts in this Affidavit come from my personal observations, my training and
experience, and information obtained from other agents, witnesses, and agencies or is based on a
review of various documents, records, and reports. Because this Affidavit is submitted for the
limited purpose of establishing probable cause, it does not contain every fact known by me or the
FBI. The dates and times listed in this Affidavit should be read as “on or about.”
                   Background: Events at the U.S. Capitol on January 6, 2021
        The United States Capitol is secured twenty-four hours a day by U.S. Capitol Police.
Restrictions around the U.S. Capitol include permanent and temporary security barriers and posts
manned by U.S. Capitol Police. Only authorized people with appropriate identification are allowed
access inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also
closed to members of the public.
       On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in the U.S. Capitol to certify the vote count of the Electoral College of the 2020 Presidential
Election, which had taken place on Tuesday, November 3, 2020. The Joint Session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Michael Richard
Pence was present and presiding, first in the Joint Session, and then in the Senate Chamber.
       As the proceedings continued in both the House and the Senate, and with Vice President
Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol. As
noted above, temporary and permanent security barricades were in place around the exterior of the
U.S. Capitol. U.S. Capitol Police were present and attempting to keep the crowd away from the
Capitol building and the proceedings underway inside.
       At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. U.S. Capitol Police officers
attempted to maintain order and keep the crowd from entering the Capitol. Around 2:13 p.m.,
however, individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.
        Shortly thereafter, at approximately 2:20 p.m. members of the House of Representatives
and Senate, including the President of the Senate, Vice President Pence, were instructed to and did
evacuate the chambers. Accordingly, the Joint Session of Congress was effectively suspended until
shortly after 8:00 p.m. Vice President Pence remained in the U.S. Capitol from the time he was
evacuated from the Senate Chamber until the certification proceedings resumed.
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       During national news coverage of these events, video footage which appeared to be
captured on mobile devices of persons present on the scene depicted evidence of violations of local
and federal law, including scores of individuals inside the U.S. Capitol building without permission
or authority to be there. One such individual was JEFFREY DALE SNYDER (SNYDER) of
Oakland, California.
                        Facts Specific to JEFFREY DALE SNYDER

         Based upon review of public video, closed circuit television (“CCTV”) footage and police
body worn camera (“BWC”) footage depicting the events at the U.S. Capitol building and grounds
on January 6, 2021, law enforcement identified a man who appeared to assault officers with an
electrified cane and possessed a stolen U.S. Capitol Police riot shield inside an area known as the
Lower West Terrace “tunnel.” The FBI posted a “be on the lookout” (“BOLO”) for the individual
with the assigned number 114-AFO and requested help from the public to identify the man. As set
out in detail below, law enforcement has identified 114-AFO as JEFFREY DALE SNYDER
(“SNYDER”) and there is probable cause to believe that on January 6, 2021, SNYDER committed
violations of 18 U.S.C. §§ 231(a) (civil disorder), 111(a)(1) and (b) (assaulting, resisting, or
impeding certain officers using a deadly or dangerous weapon), 641 (theft of government
property), and 1752(a)(1), (2) and (4) (unlawful entry, disorderly conduct, and physical violence
on restricted buildings or grounds) and 40 U.S.C. §§ 5104(e)(2)(D) and (F) (disorderly and
disruptive conduct and physical violence on Capitol grounds or buildings).

       A. 114-AFO’s activities at the U.S. Capitol on January 6, 2021

        Shortly after the attack on the U.S. Capitol that occurred on January 6, 2021, the FBI began
reviewing evidence of the crime and designating certain individuals who assaulted law
enforcement as individuals for whom the public should “be on the lookout” (BOLO). This BOLO
designation was accompanied by a number. When the individual was believed to have assaulted a
federal officer, it included the suffix “-AFO.”

       Following the events of January 6, 2021, the FBI identified a man depicted in video who
appeared to have assaulted law enforcement officers defending an entrance to the United States
Capitol on the Lower West Terrace known as “the tunnel,” as described below. The FBI posted a
photograph of this man under a BOLO labeled 114-AFO.

        For example, the FBI identified 114-AFO in open-source video walking from the Ellipse,
where the Stop the Steal rally had occurred that morning, to the U.S. Capitol. As depicted below,
the man was wearing jeans, a black, red and white jacket, a red backpack, red baseball cap with
insignia for the U.S. Marines and was walking with the assistance of what appeared to be a long
black cane.




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      According to CCTV footage, 114-AFO approached the tunnel at approximately 2:58 p.m.,
now wearing a white facemask.




        Another open-source video captured 114-AFO as he moved closer to the tunnel entrance,
which was already filled with rioters struggling with police. As 114-AFO moved up, other rioters
can be heard commenting about the “orange stuff” visible on the head of another rioter exiting the
tunnel, noting “he’s struggling.” Another rioter on a bullhorn exhorts the crowd to “back up,
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everyone back up, guys are trying to come out because they’re getting gassed.” 114-AFO then
entered the tunnel as rioters fought hand-to-hand with police and other rioters yelled for “fresh
people.” As he moved forward deeper into the tunnel towards the police line, other rioters exited
the tunnel past him. Many showed the effects of chemical irritants deployed by police in an effort
to stop the rioters’ assault. Below is a still image of 114-AFO from this open-source video.




        Another open-source video shows 114-AFO after he pushed into the tunnel. 114-AFO
reached over the shoulder of another rioter and sprayed a substance from a can at and on the police
line defending the Capitol. He continuously sprayed the police line for ten seconds until it appeared
that the can was empty. 114-AFO shook the canister as it ceased emitting spray. Below is a still
image from this video showing 114-AFO’s hand spraying the police line.




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          Another frame of the same video shows the label on the can that 114-AFO sprayed at
police:




       The appearance of the can deployed by 114-AFO on police in the tunnel appears consistent
with Counter Assault bear spray. Below is a side-by-side comparison of an image of the Counter
Assault bear spray from the internet and a zoomed-in image of the can in 114-AFO’s hand:



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       After emptying the can of bear spray on police, 114-AFO fought to remain in the tunnel
even as other rioters pushed their way past him towards the exit. Another video shows 114-AFO
as he lifted his cane above other rioters’ heads. In the below still image from the video, an
illuminated red light is visible near the handle of 114-AFO’s cane.




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         114-AFO then moved even closer to the police line until he was face to face with the police
officers defending the tunnel. With the cane in his right hand and a stolen United States Capitol
Police riot shield in his left, 114-AFO stood behind other rioters and watched the police. Below is
a still image from MPD BWC showing 114-AFO standing near the police line with the black cane
in his right hand and the light near the cane’s handle still illuminated in red.




       114-AFO then suddenly moved forward, extending his right arm and hand holding the
black cane. In the still image from BWC below, the body of the cane is more visible and it is clear
the cane has a number of segments with a textured body.

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       114-AFO then pointed the cane in the direction of the nearest MPD officer, Sergeant J.P.




        According to BWC footage, 114-AFO then jabbed the cane at Sergeant J.P. As he did so,
the cane made a loud zapping/crackling sound audible on the BWC footage. The red light near the
handle of the cane was also still illuminated. As the cane made this sound, another rioter on the
floor of the tunnel appeared to yell “Oh, fuck that” in apparent fear as the device came near him
as 114-AFO rammed it at the police line.

       BWC footage shows that Sergeant J.P. then deployed his taser at 114-AFO. 114-AFO used
the cane to swat away the taser’s electrodes and as he did so, his white mask fell off.

       The black cane utilized by 114-AFO matches the photograph and description of a product
sold on Amazon named “Walking Cane for men & women – Adjustable, heavy duty, 1 Million
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Volt Stun Device with ultra bright LED Flashlight.” The product details listed on Amazon include
the statement that the cane has “[a] Safety red light to indicate when the stun gun is on and ready
to be used.” Below is a screenshot of the product photograph and description from Amazon.




        Seconds after 114-AFO jabbed Sergeant J.P. with the electrified cane, at approximately
3:11 p.m., the zapping/crackling sound of the cane is again heard on BWC. An officer then
shouted, “Cattle prod, cattle prod!” Another officer yelled, “the taser’s back!” The zapping sound
is heard several more times in quick succession on BWC. Then another officer shouted “Cattle
prod, cattle prod, red hat.” In response, Sergeant J.P. called, “that’s the guy I tased!” The zapping
sound of the cane is then heard again. An officer then shouted “…watch out for that, he’s tasing
left!”

       In or around June 2021, FBI agents interviewed Sergeant J.P. During the interview,
Sergeant J.P. stated he had deployed his taser after being hit with what he believed was a cattle
prod. Sergeant J.P. remembered hearing the device he identified as a cattle prod before being hit.
Sergeant J.P. also recalled other officers noticing the sound of the item as well. Sergeant J.P.
described the man who hit him with this device as an older white male with a coat and no mask.

       In or around February, 2021, MPD Officer O.F. was also interviewed by the FBI. Officer
O.F. described twice being hit in the leg with what he described as a cattle prod while he was in
the Lower West Terrace tunnel.




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        After using his electrified cane on officers, 114-AFO remained in the tunnel. In fact, he
joined other rioters shortly thereafter as they pushed together against the police line in a “heave ho
motion.” Below is a still image from an open-source video depicting 114-AFO, without his hat,
joining the heave-ho push against the police in the tunnel.




       114-AFO left the tunnel only when he was pushed out by police officers.




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       Another publicly-available video captured 114-AFO’s exit from the tunnel and shows
multiple officers having to shove 114-AFO to get him out of the tunnel.




        At approximately the same time that 114-AFO was being pushed out of the tunnel with
other rioters, rioters grabbed and dragged another MPD officer, Officer M.F., off of the police line
in the tunnel and into the crowd on the Inaugural Stage. 114-AFO was feet away from Officer
M.F. as he was attacked by other rioters. Below is a still image of an open-source video depicting
114-AFO circled in yellow near Officer M.F.




       Another video shows 114-AFO at approximately this time pouring water on his eyes and
face. Based on my training and experience, I believe 114-AFO was pouring water on his eyes to
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decontaminate them from the effects of OC spray.




       B. Identification of JEFFREY DALE SNYDER as 114-AFO

      In or around November 2022 and April 2023, the FBI received information identifying
114-AFO as JEFFREY DALE SNYDER.

        Law enforcement then performed searches of law enforcement and open-source databases
and located a potential residence for SNYDER in Oakland, California (“the Snyder Residence”).
On or about July 18, 2024, an FBI agent performed physical surveillance at the Snyder Residence
and observed a white male, matching the description of SNYDER using a garden hose to water
plants on the exterior of the Snyder Residence. Based on a comparison of photographs of 114-
AFO at the U.S. Capitol on January 6, and the agent’s observations of the white male at the Snyder
Residence, the agent believed that the white male was SNYDER.

       Additionally, the FBI identified video of 114-AFO at or near the U.S. Capitol on January
6, 2021, with two women. Below is a still image of 114-AFO and the two women from an open-
source video.




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       According to records obtained from the U.S. Marine Corps, SNYDER is a U.S. Marine
Corps veteran. SNYDER was on active duty from approximately 1977-1982 and in the Reserves
from 1982 until 1985.

       Finally, on or about October 3, 2024, agents with the FBI conducted an interview with one
of SNYDER’s neighbors (“Neighbor 1”). The agents showed Neighbor 1 photographs of 114-AFO
on January 6, 2024. Neighbor 1 identified the man in the photographs as SNYDER.

                                            Conclusion

        Based on the foregoing, your affiant submits that there is probable cause to believe that
JEFFREY DALE SNYDER violated 18 U.S.C. § 111(a)(1) and (b), which makes it a crime to
forcibly assault, resist, oppose, impede, intimidate, or interfere with any person designated in 18
U.S.C. § 1114 while engaged in or on account of the performance of official duties, while using a
deadly or dangerous weapon or inflicting bodily injury. Persons designated within 18 U.S.C.
§ 1114 include federal officers such as USCP officers and include any person assisting an officer
or employee of the United States in the performance of their official duties.
        Your affiant submits there is probable cause to believe that SNYDER also violated 18
U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of 18 U.S.C. § 231, a federally protected function means any function,
operation, or action carried out, under the laws of the United States, by any department, agency,
or instrumentality of the United States or by an officer or employee thereof. This includes the
Secret Service’s protection of the Vice President and his family and the Capitol Police’s protection
of the U.S. Capitol.
        Your affiant submits there is probable cause to believe that SNYDER violated 18 U.S.C. §
641, which makes it a crime for a person to embezzle, steal, purloin, or knowingly convert to his
use or the use of another, or without authority, sell, convey or dispose of any record, voucher,
money, or thing of value of the United States or of any department or agency thereof, or any
property made or being made under contract for the United States or any department or agency
thereof; or receive, conceal, or retain the same with intent to convert it to his use or gain, knowing
it to have been embezzled, stolen, purloined or converted.
        Your affiant submits that there is probable cause to believe that SNYDER violated 18
U.S.C. § 1752(a)(1), (2), and (4), which make it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do so; and (2) knowingly, and with intent
to impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
business or official functions; (4) knowingly engage in any act of physical violence against any
person or property in any restricted building or grounds; or attempts or conspires to do so. For
purposes of 18 U.S.C. § 1752, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret


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                                  Moxila A. Digitally signed by
                                            Moxila A. Upadhyaya

                                  Upadhyaya Date: 2024.10.16
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